                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                       Plaintiff,
       v.                                                     Case No. 05-CR-240

ANDRE PRZEWORSKI,

                       Defendant.



                         ORDER DENYING MOTION FOR BAIL

       The defendant has been named in three counts of a multi-defendant, multi-count indictment.

He has been named in count 2, which alleges a RICO conspiracy, and in counts 14 and 15 , both of

which involve firearm violations. The defendant appeared on October 26, 2005, at which time an

order of detention was entered.

       The defendant has now filed a motion for bail. In the motion, he indicates that, if released,

he will reside with his sister, who is a Milwaukee police officer. The defendant states that neither

he nor his sister has any funds to post for bond. In other words, the defendant is asking to be

released on his own recognizance. The government opposes the motion. In its response, it details

the defendant’s lengthy criminal history, which includes criminal convictions and substantial periods

of time in jail or on probation starting in 1996 and continuing to the present. The defendant’s record

also includes a 2004 conviction for escape.

       As a result of the charges facing the defendant, statutory presumptions of both risk of non-

appearance and danger to the community arise. These presumptions can be rebutted, but the



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defendant has failed to do so. In light of his record, which indicates that he has spent most of his

juvenile and adult life in custody or on probation, and in view of the substantial penalties now facing

him, if convicted, release on his own recognizance is not warranted. If released, there is a substantial

likelihood that the defendant would not appear as required and would engage in further criminal

conduct. Continuation of the order of detention is appropriate.

        The defendant’s motion for bail is denied.

        SO ORDERED.



        Dated at Milwaukee, Wisconsin, this 21st day of November, 2005.


                                                         s/AARON E. GOODSTEIN
                                                         U.S. MAGISTRATE JUDGE




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